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           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                     OFFICE OF SPECIAL MASTERS
                                           No. 13-899V
                                      Filed: August 1, 2014
                                      (Not to be published)

******************************
MELVA MOONEYHAM,                                       *
                  Petitioner,                          *       Stipulation; Flu; GBS;
v.                                                     *       Damages; Attorneys’ Fees &
                                                       *       Costs
SECRETARY OF HEALTH                                    *
AND HUMAN SERVICES,                                    *
                           Respondent.                  *
******************************
Diana Stadelnikas Sedar, Esq., Maglio, Christopher & Toale Law Firm, Sarasota, FL for
petitioner.
Althea Walker Davis , Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                            DECISION ON JOINT STIPULATION1

Gowen, Special Master:

        Melva Mooneyham [“petitioner”] filed a petition for compensation under the
National Vaccine Injury Compensation Program2 on November 12, 2013. Petitioner
alleges that she suffered from Guillain-Barre Syndrome [“GBS”] that was caused in fact
by a flu vaccination she received on October 3, 2012. See Stipulation, filed July 31,
2014, at ¶¶ 2, 4. Further, petitioner alleges that she experienced residual effects of her
injuries for more than six months. Stipulation at ¶ 4. Respondent denies that the
petitioner’s flu vaccine caused GBS, or any other injury or her current disabilities.
Stipulation at ¶ 6.

       Nevertheless, the parties have agreed to settle the case. On July 31, 2014, the
parties filed a joint stipulation agreeing to settle this case and describing the settlement

1
  Because this unpublished decision contains a reasoned explanation for the action in this case,
I intend to post this decision on the United States Court of Federal Claims' website, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899,
2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule
18(b), a party has 14 days to identify and move to delete medical or other information, that
satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
I agree that the identified material fits within the requirements of that provision, I will delete such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2006).
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terms.

Respondent agrees to pay petitioner:

         a. A lump sum of $25,000.00 in the form of a check payable to petitioner,
            Melva Mooneyham. This amount represents compensation for all damages
            that would be available under § 300aa-15(a); and

         b. A lump sum of $9,543.00 in the form of a check payable jointly to
            petitioner and petitioner’s attorney, Diana Stadelnikas Sedar, Esq., for
            attorneys’ fees and costs available under § 300aa-15(e); and, in
            compliance with General Order #9, no out-of-pocket expenses were incurred
            by petitioner in proceeding on the petition.

       The special master adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. The clerk of the court is
directed to enter judgment in accordance with this decision.3


IT IS SO ORDERED.

                                            s/ Thomas L. Gowen
                                            Thomas L. Gowen
                                             Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a
notice renouncing the right to seek review.
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